                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                      )
   BANK OF AMERICA, N.A.,             ) Civil Action No. 1:23-cv-12684-AK
                                      )
   Plaintiff,                         )
                                      )
   v.                                 )
                                      )
   JENZIBAR, INC.; LING CHAI MAGINN;  )
   ROBERT MAGINN, JR.; CHAI-MAGINN    )
   FAMILY LP, CHAI-MAGINN FAMILY LLC; )
   and NEW MEDIA INVESTORS II-C, LLC, )
                                      )
   Defendants.                        )

                          NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Bank of America,

N.A. hereby voluntarily dismisses this action.

Dated: April 22, 2024                        Respectfully Submitted,

                                             BANK OF AMERICA, N.A.

                                             By its attorneys,

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                                CERTIFICATE OF SERVICE

        I hereby certify that this document was filed through the ECF system and will be sent
electronically to the registered participants on the Notice of Electronic Filing (NEF).

Dated: April 22, 2024


                                             /s/ Erick M. Sandler




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